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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF OREGON
                                           PENDLETON DIVISION



    NICHOLAS RINNE,
                                                           Case
                                                                  N£V 10-1485                    su
                             Plaintiff,
                                                           COMPLAINT
                                                           VIOLATIONS OF THE FAIR DEBT
                                                           COLLECTIONS PRACTICES ACT 15
    ALLIED INTERSTATE, INC., and JOHN                      USC § 1692 et seq.
    DOES I-XX;
                                                           DEMAND FOR JURY TRIAL
                             Defendants.



                                                 I.     PARTIES


                 1.   Plaintiff Nicholas Rinne ("Plaintiff") is a natural person who resides in the City of
     Ontario, County ofMalhuer, State ofOregon, and is a "consumer" as that term is defined by 15
     U.S.C. § 1692a(3).



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                                                                                      ORIGINAL
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        2.          Defendant Allied Interstate, Inc. ("Defendant Allied") is a collection agency

operating from an address of 3000 Corporate Exchange Dr, 6th Floor, Columbus, OH 43231 and
PO Box 361533, Columbus Ohio 43236-1533 and is a "debt collector" as that term is defined by
15U.S.C.§1692a(6).

         3.          Defendants John Does I-XX, were natural persons who were employed at all times

relevant herein by Defendant Allied as a collection agent, and is a "debt collector" as that term is
defined by 15 U.S.C. § 1692a(6).

                                       II.     JURISDICTION & VENUE

         4.          Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §

1692k(d).

         5.          This action arises out of Defendants' violations of the Fair Debt Collection Practices

Act, 15 U.S.C. §1692 et seq. ("FDCPA"); the invasions ofPlaintiffspersonal and financial privacy
by Defendants in their illegal efforts to collect a consumer debt from Plaintiff; and out ofthe
Defendants' infliction of emotional distress upon Plaintiff in their illegal attempt to collect a

consumer debt from Plaintiff.

             6.      Venue isproper inthis District because the acts and transactions occurred inOregon,
Plaintiff resides in Oregon, and Defendants transact business as debt collectors registered with the
Oregon Division of Finance and Corporate Securities.
                                        III.    FACTUAL ALLEGATIONS

             7.      On or before June 2009, Plaintiffallegedly incurred a financial obligation that was

 primarily for personal, family or household purposes and is therefore a "debt" as that term is
 defined by 15 U.S.C. § 1692a(5), namely, aGE Money Bank Pay Pal Account, in the approximate

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amount of $300.00-400.00 which was used by Plaintiff for personal, family and household

purchases.

         8.        Sometime thereafter, the alleged debt was consigned, placed or otherwise

transferred to Defendants for collection from Plaintiff.

         9.        Plaintiff Rinne is a disabled adult, who suffers from Autism and lived in a group

home located at 775 North Park Blvd., Ontario, Oregon at all times relevant to this lawsuit.
         10.       DeLoris Teves is a house attendant at the group home where Rinne resides and is

a native of the Philippines.

         11.       Sometime on or around the beginning of June 2010, Defendant Allied, via

Defendants John Doe I-XX began attempting to collect onthe Pay Pal debt by telephone.
         12.       During this time period, Defendant Allied, via Defendants Doe I-XX, attempted
to collect the alleged debt from Plaintiff Rinne by calling the telephone number ofRhine's group

home.

             13.   During this time period, Defendant Allied, via Defendants Doe I-XX, would call
the group home to collect the debt several times per day, up to six days per week.
             14.   During the course ofone collection call from Defendant Allied, Plaintiff inquired
regarding the location of the collection call center, and the collector confirmed the call center
 location was somewhere in the Philippines.

             15.   During this time period, Defendant Allied, via Defendants Doe I-XX, would
 speak to third parties, as that term is defined by 15 USC § 1692c(2)(b), in connection to collect
 the alleged debt and without Plaintiffs permission, in violation of15 USC § 1692c(2)(b).



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        16.        During this time period, Defendant Allied, via Defendants Doe I-XX, would
speak to third parties, namely other residents ofthe group home where Plaintiff Rinne resides, in
connection tocollect the alleged debt, inviolation of 15 USC § 1692c(2)(b).
        17.        During this time period, Defendant Allied, via Defendants Doe I-XX, would
speak to third parties, namely DeLoris Teves, often in a language/dialect native to the
Philippines, in connection to collect the alleged debt, in violation of 15 USC §1692c(2)(b).
         18.       During this time period, Defendant Allied, via Defendants Doe I-XX, would
speak to third parties, namely Carlito Teves, often in alanguage/dialect native to the Philippines,
inconnection tocollect the alleged debt, inviolation of 15 USC § 1692c(2)(b).
         19.       The above-described collection communications made to Plaintiffby the Defendants
were made in violation of numerous and multiple provisions of the FDCPA, including but not
limited to 15 U.S.C. §§ 1692c, 1692c(b), 1692d, 1692d(5), and 1692f, amongst others.
         20.       During their collection communications, Defendants violated numerous and
multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §15 U.S.C. §§ 1692c,
 1692c(b), 1692d, 1692d(5), and 1692f, amongst others.
         21.        The above-detailed conduct by these Defendants ofharassing Plaintiff inan effort to
 collect this debt was a violation ofnumerous and multiple provisions ofthe FDCPA, including but
 not limited to all of the above mentioned provisions of the FDCPA, which resulted in actual

 damages to Plaintiff.

             22.    Defendants' illegal and harassing collection communication described above was the
 direct and proximate cause ofsevere emotional distress on the part ofthe Plaintiff.



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        23.        Plaintiff has suffered actual damages as a result of this illegal collection
communication by these Defendants in the form of anger, anxiety, emotional distress, frustration,
upset, humiliation, embarrassment, amongst other negative emotions.
                                    Respondeat Superior Liability

        24.        The acts and omissions of Defendants Doe, who communicated with Plaintiff as
more further described herein, were committed within the time and space limits oftheir agency
relationship with their principal, Defendant Allied.
         25.       The acts and omissions by Defendants Doe were incidental to, or of the same
general nature as, the responsibilities Defendants Doe were authorized and encouraged to perform
by Defendant Allied incollecting consumer debts.
         26.       By committing these acts and omissions against Plaintiff, Defendant Does were
motivated to benefit their principal, Defendant Allied.
         27.       Defendant Allied is therefore liable to Plaintiff through the Doctrine of
Respondeat Superior for the intentional and negligent acts, errors, and omissions done in
 violation offederal and state law by Defendant AUied's collection employees, including but not
 limited to violations ofthe FDCPA and Oregon law, in their attempts to collect this alleged debt

 from Plaintiff.


                                        CAUSES OF ACTION


              VIOLATIONS OFTHE FAIR DEBT COLLECTION PRACTICES ACT

                                        15 U.S.C. § 1692 et seq.

             28.    Plaintiff incorporates by reference all ofthe above paragraphs ofthis Complaint
 as though fully stated herein.

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        29.        The foregoing acts and omissions of each and every Defendant and/or agents
thereof constitute numerous and multiple violations ofthe FDCPA including, but not limited to,
each and every one of the above-cited provisions of the FDCPA, 15 U.S.C. §1692 et seq., with
respect to the Plaintiff.
        30.        As a result of each and every Defendants' violations of the FDCPA, Plaintiff is
entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(l); statutory damages in an amount
up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's fees and
costs pursuant to 15 U.S.C. §1692k(a)(3), from each and every Defendant herein.
    VIOLATIONS OF THE OREGON FAIRDEBT COLLECTION PRACTICES ACT
                                             ORS 646.639 et seq.

         31.       Plaintiff incorporates by reference all ofthe above paragraphs ofthis Complaint
as though fully stated herein.

         32.       The foregoing acts and omissions of each and every Defendant and/or agents
thereof constitute numerous and multiple violations of the Oregon Fair Debt Collections
 Practices Act ("OFDCPA") including, but not limited to, ORS 646.639.2.e , with respect to the
 Plaintiff.

             33.    As a result of each and every Defendants' violation of the OFDCPA, Plaintiff is
 entitled to actual damages or statutory damages in the amount of$200.00 pursuant, whichever is
 greater, pursuant to ORS 646.641.1; and punitive and equitable relief as the Court deems
 necessary pursuant to ORS 646.641.1; and an award of reasonable attorney fees, pursuant to
 ORS 646.641.2, from each and every Defendant herein.




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                                    PRAYER FOR RELIEF


        WHEREFORE, Plaintiffpraysthatjudgmentbe entered against each and everyDefendant:

            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                        U.S.C. § 1692 et seq.

1. For an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against each and every

    Defendant;

2. For an award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(aX2)(A)

    against each and every Defendant;

3. For an award of costs of litigation and reasonable attorney's fees pursuant to 15 U.S.C. §

    1692k(a)(3) against each and every Defendant;

4. For such other and further relief as may be just and proper

   VIOLATIONS OF THE OREGON FAIR DEBT COLLECTION PRACTICES ACT

                                            ORS 646.639 et seq.

1. For an award of actual damages pursuant to ORS 646.641.1 against eachand every Defendant;

2. For an award of statutory damages of $200.00 pursuant to ORS 646.641.1 against each and

    every Defendant;

3. For an award of costs of litigation and reasonable attorney's fees pursuant to ORS 646.641.2

    against each and every Defendant;

4. For such other and further relief as may be just and proper, including equitable relief and

    punitive damages pursuantto ORS 646.641.1.




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                                DEMAND FOR JURY TRIAL

1. Plaintiff hereby demands a trial by jury on all issues pursuant to Fed.R.Civ.P. 38.



         DATED this^2. day ofNovember, 2010.
                                                     BRADY LAW, CHARTERED



                                                      i\LIlJ.^M-
                                                     By: Glenda M. Talbutt,
                                                           Attorneys for PlaintiffNicholas Rinne




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                   VERIFICATION OF COMPLAINT AND CERTIFICATION

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COUNTY 0?V(\&rPlJL^ )
          Plaintiff Nicolas Rinne, having first been duly sworn and upon oath, deposes and says as
follows:


              1. I am a Plaintiff in this civil proceeding.

           2. I have read the above-entitled civil Complaint prepared by my attorneys and I
   believe that all ofthe facts contained in it are true, to the best of my knowledge, information and
   beliefformed after reasonable inquiry.

            3. I believe thatthis civil Complaint is well grounded in fact and warranted by existing
    law or bya good faith argument fortheextension, modification, or reversal of existing law.

            4. I believe that this civil Complaint is not interposed for any improper purpose, such
    as to harass any Defendants), cause unnecessary delay to any Defendant(s), or create a needless
    increase in the costoflitigation to anyDefendants), namedin the Complaint.

              5. I have filed this civil Complaint in good faith and solely for the purposes setforth in
    it.

              6. Each and every exhibit I have provided to my attorneys which has been attached to
    this Complaint is a true and correctcopyof the original.

          7. Except for clearly indicated redactions made by my attorneys where appropriate, I
    have not altered, changed, modified, or fabricated these exhibits, except that some of the
    attached exhibits maycontain someof my ownhandwritten notations.


                                                              ^sJ*ft*Vgl<UV fefc/y^A            _
                                                             Nicolas Rinne


                                                 is4<
Subscribed andsworn to before methisM^ dayof November, 2010.


                      OFTOW.8EAL
                JANEANMERLEBACH                               Notary Public       f\s\r\            *"Vn I
                 NOTARY PUBUCOREOON
                 COMMISSION NO. 447*18
                                                              Commission Expires:I i »3jJ[ ' H> icf* 1
            tr cnuuiSSIOII EXPIRES MAY 16,2014


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